                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS


 D.V.D.; M.M.; E.F.D.; and O.C.G.,

              Plaintiffs,

                   v.
                                                             Civil Action No. 25-cv-10676-BEM
 U.S. DEPARTMENT OF HOMELAND SECURITY;
 Kristi NOEM, Secretary, U.S. Department of
 Homeland Security, in her official capacity; Pamela
 BONDI, U.S. Attorney General, in her official
 capacity; and Antone MONIZ, Superintendent,
 Plymouth County Correctional Facility, in his official
 capacity,

               Defendants.



        NOTICE OF MANUAL FILING UNDER SEAL WITH CLERK’S OFFICE

       Notice is hereby given that the following exhibits in support of Plaintiffs’ Emergency

Motion for Temporary Restraining Order and Preliminary Injunction on Behalf of Plaintiff

O.C.G. listed below were manually delivered to the Clerk’s Office this morning for filing with

the Court under seal pursuant to the Protective Order for Expedited Discovery Related to

Plaintiff O.C.G., Dkt. 93, on a flash drive in electronic form:

       1.      A digital audio recording of Plaintiff O.C.G.’s master calendar hearing on June

17, 2024, labeled “[A Number] 6.17.2024.2 CONFIDENTIAL.wav,” designated as confidential

pursuant to the protective order, Dkt. 96;

       2.      A digital audio recording of Plaintiff O.C.G.’s individual merits hearing on

February 19, 2025, labeled “[A Number] 2.19.2025 CONFIDENTIAL.wav,” designated as

confidential pursuant to the protective order, Dkt. 96;

       3.      The declaration of Glenda Aldana Madrid, authenticating a transcription of

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excerpts of the June 17, 2025 hearing (and attached transcription); and

       4.      The declaration of Anwen Hughes, authenticating a transcription of excerpts of

the February 19, 2025 hearing (and attached transcription).

       A date-stamped copy of the cover sheet submitted with the exhibits is attached to this

filing as an exhibit. The original documents are maintained in the case file in the Clerk’s Office.

Respectfully submitted,


s/Trina Realmuto
Trina Realmuto*                                 Matt Adams*
Kristin Macleod-Ball*                           Leila Kang*
Mary Kenney*                                    Aaron Korthuis*
Tomas Arango                                    Glenda M. Aldana Madrid*
NATIONAL IMMIGRATION                            NORTHWEST IMMIGRANT
   LITIGATION ALLIANCE                            RIGHTS PROJECT
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Dated: May 20, 2025




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                                 CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the ECF system will be sent

electronically to the registered participants as identified on the Notice of Electronic Filing (NEF).

s/ Kristin Macleod-Ball
Kristin Macleod-Ball

DATED: May 20, 2025




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